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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

EDMUND J. MANSOR and
ROBERTA M. MANSOR,

Plaintiffs,
v Civil Action No. l :12-cv-10544-JGD

JPMORGAN CHASE BANK, N.A.,

Defendant.

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|PKL“!BDSE'D| FINAL ORDER AND JUDGMENT

On June 22, 2018 this Court granted preliminary approval of the proposed class action
settlement set forth in the Settlement Agreement between Plaintiffs Edmund J. Mansor and
Roberta M. Mansor, individually and on behalf of themselves and all members of the Settlement
Class, and Defendant JPMorgan Chase Bank, N.A. (“Defendant” or “Chase”) (DE 528).

On November 13, 2018, this Court held a duly noticed final approval hearing to consider
(l) whether the terms and conditions of the Settlement Agreement are fair, reasonable, and
adequate; (2) whether a judgment should be entered permanently barring the Parties and Settlement
Class Members from prosecuting the other Parties and their affiliates, subsidiaries, agents, board
members, directors, officers, and/or employees in regard to those matters released as set forth in
Section VIII of the Settlement Agreement; and (3) whether and in what amount to approve Class
Counsel’s application for the requested award of attorneys’ fees and costs and the Class
Representative applications and Receiver fees. There were no objections to the parties’ request for

final approval of the Settlement Agreement, and only one class member opted out.

Accordingly, it is hereby ORDERED AND ADJUDGED that:

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l. The Court has personal jurisdiction over the parties and the Settlement Class
Members, venue is proper, the Court has subject matter jurisdiction to approve the Settlement
Agreement, including all exhibits thereto, and to enter this Final Order and Judgment. Without in
any way affecting the finality of this Final Order and Judgment, this Court hereby retains
jurisdiction as to all matters relating to administration, consummation, enforcement, and
interpretation of the Settlement Agreement and of this Final Order and Judgment, and for any other
necessary purpose.

2. The Court finds that Class Notice was given in the manner ordered by the Court in
order to apprise Settlement Class Members of the pendency of the Action, their right to object or
exclude themselves from the proposed Settlement, and their right to appear at the Final Approval
Hearing; constituted the best notice practicable under the circumstances, including individual
notice to all members who can be identified through reasonable effort, and; was fair, reasonable,
and adequate and constituted sufficient notice to all persons entitled to receive notice, including
all Settlement Class Members; and complied fully with the requirements of Federal Rule of Civil
Procedure 23.

3. The Court finds that the prerequisites for a class action under Federal Rule of Civil
Procedure 23(a) and Federal Rule of Civil Procedure 23(b) have been satisfied for settlement
purposes for each Settlement Class Member in that (a) the number of Settlement Class Members
is so numerous that joinder of all members thereof is impracticable; (b) there are questions of law
and fact common to the Settlement Class; (c) the claims of the Class Representatives are typical
of the claims of the Settlement Class they seek to represent; (d) Class Representatives have and
will continue to fairly and adequately represent the interests of the Settlement Class for purposes

of entering into the Settlement Agreement; (e) the questions of law and fact common to the

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Settlement Class Members predominate over any questions affecting any individual Settlement
Class Member; and (D; a class action is superior to the other available methods for the fair and
efficient adjudication of the controversy.

4. Pursuant to Federal Rule of Civil Procedure 23, this Court hereby finally certifies
the Settlement Class, as identified in the Settlement Agreement, which shall consist of all persons
who purchased or otherwise acquired Millennium CDs or whose funds remained in the Millennium
accounts at Chase from September 25, 2008 through March 9, 2009, which includes persons whose
CDs purportedly rolled over or whose funds were deposited in or remained in the Millennium

accounts at Chase. Excluded from this class are all persons who validly opt out of the settlement

in a timely manner;l counsel of` record (and their respective law firms) for the Parties; Defendant
and its affiliates, subsidiaries, agents, board members, directors, officers, and/or employees.; and
the presiding judge in the Action or judicial officer presiding over the matter, and all of their
immediate families and judicial staff.

5. Pursuant to Federal Rule of Civil Procedure 23, the Court hereby awards Class
Counsel Attorneys’ Fees and Expenses in the amount of $1,618,750.00 payable pursuant to the
terms of the Settlement Agreement, The Court also awards a case contribution award in the amount
of $25,000.00 to Plaintiffs Edmund J. Mansor and Roberta M. Mansor, and a Receiver Fee of
$30,000.00 to the Receiver pursuant to Section II.D of the Settlement Agreement for his
contributions as Settlement Administrator.

6. The terms of the Settlement Agreement and of this Final Order and Judgment,
including all exhibits thereto, shall be forever binding on the parties, and shall have res judicata

and preclusive effect in all pending and future lawsuits maintained by the Plaintiffs and all other

 

l All “opt outs” are attached as Composite Exhibit l.

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Settlement Class Members, as well as their heirs, executors and administrators, successors, and
assigns

7. The Releases, which are set forth in Section Vlll of the Settlement Agreement, are
expressly incorporated herein in all respects and are effective as of the date of this Final Order
and Judgment; and the Released Persons (as that term is defined in the Settlement Agreement)
are forever released, relinquished, and discharged by the releasing persons from all released
claims.

8. This Final Order and Judgment and the Settlement Agreement (including the
exhibits thereto) may be filed in any action against or by any released person to support a defense
ofresjua’z'cafa, collateral estoppel, release, good faith settlement, judgment bar or reduction, or
any theory of claim preclusion or issue preclusion or similar defense or counterclaim

9. Without further order of the Court, the Parties may agree to reasonably necessary
extensions of time to carry out any of the provisions of the Settlement Agreement

10. This Action, including all individual claims and class claims presented herein, is
hereby DISMISSED on the merits and WITH PREJUDICE against the Plaintiffs and all other

Settlement Class Members, without fees or costs to any party except as otherwise provided herein.

lT lS SO ORDERED.

    
 

`on. Judith G.
l nited States Magistrate Judge

Dared; ////.5 //? ,2018

  

